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                          UNITED STATES DISTRICT COURT
                                     DISTRICT OF COLORADO



     UNITED STATES OF AMERICA                     AMENDED JUDGMENT IN A CRIMINAL CASE
                                                  (For Offenses Committed On or After November 1, 1987)
                                                  (Changes Identified with Asterisks (*))

                     v.                           CASE NUMBER: 01-cr-00319-WYD
                                                  Joseph Saint-Veltri, Retained
             JOHN D. SPOSIT                       (Defendant's Attorney)

Date of Original Judgment: July 19, 2004

Reason for Amendment: Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P.
35(b)).

THE DEFENDANT: Pleaded guilty to count one of the Superseding Indictment.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:
                                                                             Date Offense               Count
 Title & Section              Nature of Offense                               Concluded               Number(s)
 21 U.S.C. § 848              Continuing Criminal Enterprise -                  06/07/01                One
                              Possession with Intent to Distribute
                              MDMA ("Ecstasy") and "LSD"

       The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence
is imposed pursuant to the Sentencing Reform Act of 1984.

       The Indictment and the remaining counts of the Superseding Indictment are dismissed as to
the defendant on the motion of the United States.

       It is ordered that the defendant must notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant must notify the court and United States Attorney of material changes in economic
circumstances.

        It is further ordered that the Addendum to this judgment, which contains the defendant's social
security number, residence address and mailing address, shall be withheld from the court file and
retained by the United States Probation Department.

                                                                            July 15, 2004
                                                                    Date of Imposition of Judgment



                                                                      s/ Wiley Y. Daniel
                                                                      Signature of Judicial Officer



                                                              Wiley Y. Daniel, U.S. District Judge
                                                                    Name & Title of Judicial Officer



                                                                           September 12, 2007
                                                                                  Date
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                                            IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to
be imprisoned for a total term of *one-hundred and thirty-two (132) months.

        The court recommends that the Bureau of Prisons designate a facility that is most convenient
for the defendant's grandparents who live in Punta Gorda, Florida, to visit him. The court
recommends that the defendant be placed in the Bureau of Prisons' Residential Drug Abuse Program
(RDAP).

       The defendant is remanded to the custody of the United States Marshal.




                                              RETURN


I have executed this judgment as follows:




       Defendant delivered on                            to



at                                 , with a certified copy of this judgment.




                                                                 UNITED STATES MARSHAL



                                                   By
                                                                 Deputy United States Marshal
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                                       SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of
five (5) years.

      The defendant must report to the probation office in the district to which he is released within
72 hours of his release from the custody of the Bureau of Prisons.

       The defendant shall not commit another federal, state or local crime.

        The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and two periodic drug tests thereafter.

       The defendant shall not possess a firearm as defined in 18 U.S.C. § 921.

      If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

        The defendant shall comply with the standard conditions that have been adopted by this court
as well as any additional conditions on the attached page.

                          STANDARD CONDITIONS OF SUPERVISION

1)     The defendant shall not leave the judicial district without the permission of the court or
       probation officer.
2)     The defendant shall report to the probation officer as directed by the court or probation officer
       and shall submit a truthful and complete written report within the first five days of each month.
3)     The defendant shall answer truthfully all inquiries by the probation officer and follow the
       instructions of the probation officer.
4)     The defendant shall support his dependents and meet other family responsibilities.
5)     The defendant shall work regularly at a lawful occupation unless excused by the probation
       officer for schooling, training or other acceptable reasons.
6)     The defendant shall notify the probation officer at least ten days prior to any change in
       residence or employment.
7)     The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
       use, distribute, or administer any controlled substance, or any paraphernalia related to any
       controlled substance, except as prescribed by a physician.
8)     The defendant shall not frequent places where controlled substances are illegally sold, used,
       distributed, or administered.
9)     The defendant shall not associate with any persons engaged in criminal activity and shall not
       associate with any person convicted of a felony, unless granted permission to do so by the
       probation officer.
10)    The defendant shall permit a probation officer to visit him at any time at home or elsewhere
       and shall permit confiscation of any contraband observed in plain view by the probation officer.
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11)   The defendant shall notify the probation officer within seventy-two hours of being arrested or
      questioned by a law enforcement officer.
12)   The defendant shall not enter into any agreement to act as an informer or a special agent of a
      law enforcement agency without the permission of the court.
13)   As directed by the probation officer, the defendant shall notify third parties of risks that may be
      occasioned by the defendant's criminal record or personal history or characteristics, and shall
      permit the probation officer to make such notifications and to confirm the defendant's
      compliance with such notification requirement.
14)   The defendant shall provide the probation officer with access to any requested financial
      information.

                        ADDITIONAL CONDITIONS OF SUPERVISION

1)    The defendant shall participate in a program of testing and treatment for drug abuse, as
      directed by the probation officer, until he is released from the program by the probation officer.
      The defendant shall abstain from the use of alcohol or other intoxicants during the course of
      treatment and shall pay the cost of treatment as directed by the probation officer.
2)    The defendant shall participate in a program of mental health treatment, as directed by the
      probation officer, until he is released from the program by the probation officer. The
      defendant shall pay the cost of treatment as directed by the probation officer. The court
      authorizes the probation officer to release to the treatment agency all psychological reports
      and/or the presentence report, for continuity of treatment.
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                                  MONETARY OBLIGATIONS

        The defendant must pay the following monetary obligations under the schedule of payments
set forth below.

    Count               Assessment                     Fine            Restitution

     One                    $100.00                   $0.00                 $0.00

  TOTALS                    $100.00                   $0.00                 $0.00
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                                   SCHEDULE OF PAYMENTS

       Having assessed the defendant's ability to pay, payment of the total monetary obligations is
due as follows:

       The $100 special assessment fee is due in full immediately.

        All monetary obligation payments, except those payments made through the Federal Bureau
of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court, unless
otherwise directed by the court, the probation officer, or the United States Attorney.

        The defendant shall receive credit for all payments previously made toward any monetary
obligations imposed.

       Payments shall be applied in the following order: (1) special assessment.
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                                   STATEMENT OF REASONS

The court adopts the presentence report and guideline applications without change.

GUIDELINE RANGE DETERMINED BY THE COURT (BEFORE DEPARTURES):

       Total Offense Level: 35

       Criminal History Category: I

       Imprisonment Term: 240 months

       Supervised Release Range: 3 to 5 years

       Fine         $20,00    to $2,000,000
       Range:       0

       The fine is waived because of the defendant's inability to pay.

       RESTITUTION DETERMINATIONS
       Total Amount of                None.
       Restitution:

       DEPARTURE

       The sentence departs below the guideline range for the following reasons:

       Pursuant to a Plea Agreement

              Based on 5K1.1 motion of the government based on the defendant's susbstantial
              assistance.



        The court concludes that this statement of reasons for imposing a sentence in a criminal case
is presumptively a matter of public interest and scrutiny. See S. Rep. No. 225, 98th Cong., 1st Sess.
1983, 1984 U.S.C.C.A.N. 3182, 3263 (1983) ("The statement of reasons . . . informs defendant and
the public of the reasons for the sentence. It provides information to criminal justice researchers.")
No party has made a sufficient showing of "good cause," Fed R. Crim. P. 32(i)(4)(C), why it should not
be a matter of public record. Therefore, to facilitate systematic documentation of any decision
concerning departure, in compliance with 18 U.S.C.A. § 3553(c)(2), this statement of reasons shall be
entered and filed by the clerk as part of the judgment.
